     Case 2:96-cr-00350-WBS Document 1019 Filed 03/30/16 Page 1 of 2


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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               Nos.   2:96-cr-350 WBS
13                  Plaintiff,                      2:15-cv-1367 WBS
14        v.
                                             ORDER GRANTING CERTIFICATE OF
15   MADY CHAN,                              APPEALABILITY
16                  Defendant.

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20                Defendant Mady Chan moves for a Certificate of

21   Appeability (Docket No. 1018), pursuant to 28 U.S.C. §

22   2253(c)(1), from this court’s Order denying his motion to vacate,

23   set aside, or correct his sentence pursuant to 28 U.S.C. § 2255

24   (Docket No. 1002).     Good cause appearing, the court grants a

25   Certificate of Appealability on the issues of whether defendant

26   voluntarily waived his right to a speedy trial under the Speedy

27   Trial Act and whether his attorney rendered ineffective

28   assistance by counseling him to do so.
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     Case 2:96-cr-00350-WBS Document 1019 Filed 03/30/16 Page 2 of 2


1              IT IS SO ORDERED.

2    Dated:   March 29, 2016

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